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                    IN THE UNITED STATES DISTRICT COURT

                   DISTRICT OF UTAH, NORTHERN DIVISION



UNITED STATES OF AMERICA,                       Case No. 1:20-CR-00023-HCN

                     Plaintiff,                 WRIT OF HABEAS CORPUS AD
                                                PROSEQUENDUM
v.

MARIAH KEISHA BUTLER,                           District Court Judge Howard C.
                                                Nielson, Jr.
                     Defendant.



       TO: THE UNITED STATES MARSHAL FOR THE DISTRICT OF UTAH, OR
       TO ANY OTHER UNITED STATES MARSHAL, AND TO ANY
       AUTHORIZED OFFICER IN WHOSE CUSTODY THE DEFENDANT MAY
       BE HELD:

G R E E T I N G S:


       We command you that you bring the body of MARIAH KEISHA BUTLER, now

being confined at the Davis County Jail in Farmington, Utah, under the authority of the

State of Utah, to appear in United States District Court for the District of Utah before the

Honorable Judge Dustin B. Pead on March 17, 2020 at 2:15 p.m. of said day, and from

day-to-day thereafter, for purposes of a initial appearance hearing on the charges pending

against the defendant in the United States District Court, and in the above-entitled
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pending case; and for final disposition at a later date; and hold the said defendant at all

times in your custody as an agent of the United States of America; that immediately after

the conclusion of the proceedings and final disposition of the above-entitled case in the

United States District Court, you return the defendant to the institution where the

defendant was confined, under safe and secure conduct, and have you then and there

make a return upon this Writ.



       DATED this _________ day of March, 2020.




                                           DUSTIN B. PEAD
                                           Magistrate Court Judge
